Case 2:19-cv-10071-VAP-RAO Document 21-3 Filed 04/15/20 Page 1 of 3 Page ID #:108




                         EXHIBIT C
     Case 2:19-cv-10071-VAP-RAO Document 21-3 Filed 04/15/20 Page 2 of 3 Page ID #:109
                                                         Declaration of Diligence

 Case:                             Court:                               County:                                             Job:
 2:19-cv-10071-VAP-RAO             United States District Court         Central District of California, Western Division,   4408139 (6693-
                                                                        CA                                                  01)
 Plaintiff / Petitioner:                                                Defendant / Respondent:
 Tracy Eggleston, et al.                                                Direct Protect Security & Surveillance, Inc.
 Received by:                                                           For:
 Inservio3                                                              Woodrow & Peluso LLC
 To be served upon:
 Direct Protect Security & Surveillance, Inc.

I, Frank Harrigan, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:     Direct Protect Security & Surveillance, Inc., 3151 Airway Ave #F205, Costa Mesa, CA 92626
Manner of Service:            Unsuccessful Attempt
Documents:                    AO 440 Summons in a Civil Action; Civil Covr Sheet; Class Action Complaint; Notice of Errata to Plaintiff;
                              Standing Order; Notice to Parties of Court-Directed ADR Program
Witness fees were offered
or demanded and paid:

Additional Comments:
1) Unsuccessful Attempt: Mar 16, 2020, 3:15 pm PDT at 3151 Airway Ave #F205, Costa Mesa, CA 92626
Doors closed and locked. It looks partially empty inside but there’s still desks. No lights on. The name of the business is on a plaque by the
door. No hours posted.

2) Unsuccessful Attempt: Mar 18, 2020, 9:30 am PDT at 3151 Airway Ave #F205, Costa Mesa, CA 92626
No changes. Door is closed and locked and no lights on inside. No movement no activity

3) Unsuccessful Attempt: Mar 20, 2020, 10:55 am PDT at 3151 Airway Ave #F205, Costa Mesa, CA 92626
No changes. Does not look like office is being used. A lot of junk on the floor and there does not seem to be any computers on the couple
of desks I can see. Does not appear anybody has been in or comes in.

4) Unsuccessful Attempt: Mar 23, 2020, 1:20 pm PDT at 3151 Airway Ave #F205, Costa Mesa, CA 92626
No changes does not appear anybody has been in a route. Does not look like office is being used

5) Unsuccessful Attempt: Mar 25, 2020, 11:15 am PDT at 3151 Airway Ave #F205, Costa Mesa, CA 92626
No changes - We have exhausted all 5 attempts for this order & will be closing it out.

Person serving:
a.   Not a registered California process server.
b.    California sheriff or marshal.
c. X Registered California process server.
d.    Employee or independent contractor of a registered California process server.
e.    Exempt from registration under Business and Professions Code section 22350(b).
f.    Registered professional photocopier.
g.    Exempt from registration under Business and Professions Code section 22451.
h.Name, address, telephone number, and, if applicable, county of registration and number:
  Frank Harrigan
  Orange County Reg. No. PSC1530
  Inservio3
  18013 Sky Park Circle, Suite C
  Irvine CA 92614
  (949) 777-5496
    Case 2:19-cv-10071-VAP-RAO Document 21-3 Filed 04/15/20 Page 3 of 3 Page ID #:110



                                 03/25/2020
Frank Harrigan                   Date
Orange County Reg. No. PSC1530
